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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)
UNITED STATES OF AMERICA ex rel. )
SCOTT KRELLER, )
)
Plaintiff, )

) Civil Action No. 17-1342 (KBJ)
v. )

) FILED UNDER SEAL

LEONIE INDUSTRIES, LLC, )
)
Defendant. )
)

UNITED STATES’ NOTICE OF ELECTION TO DECLINE INTERVENTION

Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the United States notifies the
Court of its decision to decline intervention in this action.

Although the United States declines to intervene, we respectfully refer the Court to
31 U.S.C. § 3730(b)(1), which allows the Relator to maintain the action in the name of the United
States; providing, however, that the “action may be dismissed only if the court and the Attorney
General give written consent to the dismissal and their reasons for consenting.” Jd. Therefore, the
United States requests that, should either the Relator or Defendant propose that this action be
dismissed, settled, or otherwise discontinued, the Court solicit the written consent of the United
States before ruling or granting its approval.

Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States requests that all
pleadings filed in this action be served upon the United States; the United States also requests that
orders issued by the Court be sent to the Government's counsel. The United States reserves its

right to order any deposition transcripts, to intervene in this action, for good cause, at a later date,

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and to seek the dismissal of the Relator’s action or claim. The United States also requests that it
be served with all notices of appeal.

Finally, the United States requests that the Relator’s Complaint, this Notice, and the
attached proposed Order be unsealed. The United States further requests that all other papers on
file in this action remain under seal because, in discussing the content and extent of the United.
States’ investigation, those were provided by law to the Court alone for the sole purpose of
evaluating whether the seal and time for making an election to intervene should be extended.

A proposed order is filed herewith.

February 6, 2020 Respectfully submitted,

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Assistant Attorney General

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 6th day of February, 2020, I caused a true and correct
copy of the foregoing to be served on counsel for Relator by first-class mail to:
Brendan J. Klaproth, Esq.
Klaproth Law PLLC ~

450 5" Street, NW, Suite 350
Washington, DC 20001

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA ex rel.
SCOTT KRELLER,

Plaintiff,
Civil Action No. 17-1342 (KBJ)
vo

FILED UNDER SEAL

LEONIE INDUSTRIES, LLC,

Defendants.

[PROPOSED] ORDER

The United States having declined to intervene in this action pursuant to the False Claims
Act, 31 U.S.C. § 3730(b)(4)(B), it is HEREBY ORDERED as follows:

1. The Complaint shall be unsealed and served upon the Defendant by the Relator;

2. All other contents of the Court’s file in this action shall remain under seal and shall
not be made public or served upon the Defendant, except for this Order and the United States’
Notice of Election to Decline Intervention, which the Relator shall serve upon the Defendant
only after service of the Complaint;

3. The seal is lifted as to all other matters occurring in this action after the date of this
Order;

4, The parties shall serve all pleadings and motions filed in this action, including
supporting memoranda, upon the United States, as provided for in 31 U.S.C. § 3730(c)(3). The
United States may order any deposition transcripts and is entitled to intervene in this action, for

good cause, at any time;

5. The parties shall serve all notices of appeal upon the United States;

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6. All orders of the Court shall be sent to the United States; and

7. Should the Relator or the Defendant propose that this action be dismissed, settled, or
otherwise discontinued, the Court will solicit the written consent of the United States before
ruling or granting its approval.

SO ORDERED this day of , 2020.

United States District Judge

ce:

Darrell Valdez

Assistant U.S. Attorney

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